 8:07-cr-00073-LSC-SMB            Doc # 36   Filed: 04/22/08   Page 1 of 1 - Page ID # 47




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:07CR73
                                                  )
        vs.                                       )             ORDER
                                                  )
EUGENIO CAMACHO-PARRAL,                           )
                                                  )
                     Defendant.                   )


        This matter is before the court on the defendant Eugenio Camacho-Parral’s motion
to compel (Filing No. 33). The court held a telephone conference with counsel on April 22,
2008.    Bassel El-Kasaby represented Camacho-Parral and Assistant U.S. Attorney
Kimberly C. Bunjer represented the United States. Following as discussion with counsel,
counsel for the government agreed to provide the items set forth in Camacho-Parral’s
motion. The motion will be deemed moot. However,


        IT IS ORDERED:
        1.    The government shall provide counsel for Camacho-Parral the items set forth
in his motion to compel (Filing No. 33) on or before April 29, 2008.
        2.    Camacho-Parral shall have to on or before May 20, 2008, in which to file any
pretrial motions in this matter.
        3.    The ends of justice have been served by granting such additional time and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting such time, i.e., the time between April 22, 2008 and May
20, 2008, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
        DATED this 22nd day of April, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
